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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA


JONATHAN FERGUSON,                            )
          Plaintiff,                          )
                                              )
            v.                                )   CASE NUMBER: 3:13CV417-JVB-JEM
                                              )
CITY OF SOUTH BEND, ET AL.,                   )
           Defendant                          )


                          MOTION TO WITHDRAW APPEARANCE


       Counsel for the Defendant, states the following in support of his motion:

       1.        On June 15, 2015, I will start my new position with the St. Joseph County Courts

as Magistrate and therefore I am closing my private practice.

       2.        On May 26, 2015 new counsel for the defendant entered their appearance.

       WHEREFORE, counsel respectfully requests that his appearance be withdrawn.

                                                     /s/Jeffrey L. Sanford
                                                     Jeffrey L. Sanford                  14111-71
                                                     Attorney for Defendant
                                                     212 S. Taylor St.
                                                     South Bend, Indiana 46601
                                                     (574) 233-7280
                                                     (574) 234-8411 facsimile
                                                     jlsattlaw@aol.com

                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 26, 2015, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which sent notification of such filing.

                                                      /s/Jeffrey L. Sanford
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